                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

CARBONLITE HOLDINGS LLC, et al.,2                               Case No. 21-10527 (JTD)

                             Debtors.                           (Jointly Administered)

BAHRAM NOUR-OMID, an individual, and
LEARNICON LLC, a Delaware limited
liability company,

                             Plaintiffs,

         v.                                                     Adv. Proc. No. 21-50317 (JTD)

CARBONLITE HOLDINGS LLC, a
Delaware limited liability company, LF
INVESTMENT HOLDINGS, LLC, a
Delaware limited liability company, LEON
FARAHNIK, an individual, KIM JEFFERY,
an individual, FARAMARZ
YOUSEFZADEH, an individual, ORION
ENERGY CREDIT OPPORTUNITIES
FUND II, L.P., a Delaware limited
partnership, ORION ENERGY CREDIT
OPPORTUNITIES FUND II PV, L.P., a
Delaware limited partnership, ORION
ENERGY CREDIT OPPORTUNITIES
FUND II GPFA, L.P., a Delaware limited
partnership, FORCE TEN PARTNERS, LLC,
a Delaware limited liability company, BRIAN
WEISS, an individual, and DOES 1 through
50, inclusive,

                             Defendants.

              ORDER ESTABLISHING BRIEFING SCHEDULE ON DEFENDANTS’
                MOTIONS TO DISMISS THE FIRST AMENDED COMPLAINT


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 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are: CarbonLite
Holdings LLC (8957); CarbonLite Industries LLC (3596); CarbonLite P Holdings, LLC (8957); CarbonLite P, LLC (5453);
CarbonLite PI Holdings, LLC (8957); CarbonLite Pinnpack, LLC (8957); CarbonLite Recycling Holdings LLC (8957); CarbonLite
Recycling LLC (3727); CarbonLite Sub-Holdings, LLC (8957); Pinnpack P, LLC (8322); and Pinnpack Packaging, LLC (9948).
The address of the Debtors’ corporate headquarters is 10250 Constellation Blvd., Los Angeles, CA 90067.
       Upon the Certification of Counsel filed by Plaintiffs in the above-captioned adversary

proceeding; and upon review of such certificate and good and sufficient cause appearing therefor,

       IT IS HEREBY ORDERED that:

       1.     The time for Defendants to move or otherwise respond to the First Amended

Complaint [Adv. D.I. 24] (the “FAC”), to the extent they have not responded already, shall be

extended through and including July 2, 2021.

       2.     Plaintiffs shall file their omnibus answering brief in response to any motions to

dismiss (and/or supplemental motions to dismiss) the FAC on or before July 16, 2021. Plaintiffs’

omnibus answering brief is limited to 50 pages.

       3.     Defendants shall file their reply briefs, if any, in support of their motions to dismiss

the FAC on or before July 23, 2021.




       Dated: June 29th, 2021                            JOHN T. DORSEY
       Wilmington, Delaware                              UNITED STATES BANKRUPTCY JUDGE




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